Case 1:21-cr-00229-RBJ Document 46 Filed 09/09/21 USDC Colorado Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 21-cr-0229-RBJ

UNITED STATES OF AMERICA,

                       Plaintiff,

v.

     1. DAVITA INC.,

     2. KENT THIRY,

                       Defendants.


             DEFENDANTS’ UNOPPOSED MOTION FOR ENLARGEMENT


       Defendants respectfully move the Court for an enlargement of three pages for their

motion to dismiss the Indictment. The United States does not oppose this motion.

       Pursuant to the Court’s scheduling order, Defendants’ motions to dismiss are due by

September 14, 2021. ECF 39 at 2. Defendants have elected to submit a succinct joint motion to

dismiss. In preparing their motion, Defendants have endeavored to comply with the Court’s

practice standard that motions “not exceed 15 pages,” inclusive of the caption, the signature

block, and the certificate of service. Practice Standards,

http://www.cod.uscourts.gov/Portals/0/Documents/Judges/RBJ/RBJ_Practice_Standards.pdf?ver

=2020-12-08-151330-180. Defendants, however, believe that an additional three pages are

needed to ensure that they can adequately—yet concisely—present their arguments to the Court.

                                         CONCLUSION

       The Court should grant Defendants a three-page enlargement for their joint motion to


                                                 1
Case 1:21-cr-00229-RBJ Document 46 Filed 09/09/21 USDC Colorado Page 2 of 2




dismiss.

September 9, 2021                              Respectfully submitted,

CLIFF STRICKLIN                                John F. Walsh III
KING & SPALDING                                JOHN F. WALSH III
1401 Lawrence Street, Suite 1900               WILMER CUTLER PICKERING HALE & DORR LLP
Denver, CO 80202                               1225 17th Street, Suite 2600
(720) 535-2327                                 Denver, CO 80220
cstricklin@kslaw.com                           (720) 274-3154
                                               john.walsh@wilmerhale.com
JEFFREY STONE
DANIEL CAMPBELL                                SETH P. WAXMAN
McDermott Will & Emery LLP                     WILMER CUTLER PICKERING HALE & DORR LLP
444 W Lake St.                                 1875 Pennsylvania Avenue NW
Chicago, IL 60606                              Washington, DC 20006
(312) 984-2064                                 (202) 663-6000
jstone@mwe.com                                 seth.waxman@wilmerhale.com

JUSTIN MURPHY                                  HEATHER STEINER NYONG’O
McDermott Will & Emery LLP                     WILMER CUTLER PICKERING HALE & DORR LLP
500 North Capitol Street, NW                   One Front Street, Suite 3500
Washington, DC 20001-1531                      San Francisco, CA 94111
(202) 756-8018                                 (628) 235-1007
jmurphy@mwe.com                                heather.nyong’o@wilmerhale.com

Counsel for Defendant Kent Thiry               JOHN C. DODDS
                                               MORGAN LEWIS & BOCKIUS LLP
                                               1701 Market Street
                                               Philadelphia, PA 19103-2921
                                               (215) 963-4942
                                               john.dodds@morganlewis.com

                                               Counsel for Defendant DaVita Inc.

                                 CERTIFICATE OF SERVICE

       I certify that on September 9, 2021, I filed the above document with the Clerk of the

Court using CM/ECF, which will send electronic notification thereof to all registered counsel.

                                                    /s/ John F. Walsh III
                                                        John F. Walsh III



                                                2
